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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14
                   Plaintiff,                      REPLY DECLARATION OF MARK
   15                                              LEE IN SUPPORT OF
            v.                                     INTERFOCUS, INC.’S MOTION
   16                                              FOR: SUMMARY JUDGMENT
      INTERFOCUS, INC. d.b.a.
   17 www.patpat.com, a Delaware
      Corporation; CAN WANG, and
   18 individual, and DOES 1-10, inclusive.,
                                                   Date: August 23, 2021
   19              Defendants.                     Time: 10:00 am
                                                   Courtroom: 8D
   20
      INTERFOCUS, INC. d.b.a.                      The Hon. Christina A. Snyder
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
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                                               1
                       REPLY DECLARATION OF MARK LEE IN SUPPORT OF
                     INTERFOCUS, INC.’S MOTION FOR: SUMMARY JUDGMENT
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    1         I, Mark S. Lee, declare:
    2         1.    I am a lawyer admitted to practice before this Court, and am a partner
    3 at Rimon, P.C., counsel of record for Interfocus, Inc. d.b.a. www.patpat.com
    4 (“Interfocus”) in this matter. I have personal knowledge of the following facts
    5 except where otherwise indicated based on my personal participation in the matters
    6 described, and if called upon as a witness, I could and would competently testify
    7 thereto.
    8         2.    Plaintiff’s opposition to InterFocus’ motions included some
    9 communications between previous counsel for InterFocus and present counsel for
   10 Neman brothers concerning certain negotiations that took place between them in the
   11 fall of 2020. However, I was provided copies of all written communications
   12 between former counsel and Plaintiff’s counsel herein, and in reviewing Plaintiff’s
   13 opposition exhibit, I realized that Plaintiff’s counsel had not attached all such
   14 communications to its opposition, and specifically, did not attached certain emails in
   15 which former counsel for InterFocus explained why InterFocus was not willing to
   16 enter into a license agreement on the terms Neman Brothers demanded.
   17         3.    Attached as Exhibit 1 to this declaration is a true and correct copy of an
   18 email string between InterFocus’ former counsel and plaintiff’s counsel herein in
   19 which they explain why InterFocus did not agree to Neman Brothers’ demands.
   20         4.    In reviewing Plaintiff’s objections to the paragraph 14 of the
   21 Declaration of Weiwei Le filed in support of InterFocus’ motion for summary
   22 judgment, which includes a chart, I noted that Plaintiff claims that “no real business
   23 record was ever produced” to support the information in that chart. That is incorrect.
   24 InterFocus did produce in discovery print screens from the computer database it
   25 maintains in its normal course of business that state when in 2020 Interfocus
   26 removed from its online sales platform the garments Neman Brothers had
   27 complained about in its September 2020 letter. True and correct copies of those
   28 print screens are attached as Exhibit 2. Further, although InterFocus originally
                                                 2
                         REPLY DECLARATION OF MARK LEE IN SUPPORT OF
                       INTERFOCUS, INC.’S MOTION FOR: SUMMARY JUDGMENT
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    1 objected to producing records of allegedly infringing garment sales it had stopped
    2 selling before it entered into the previous settlement agreement with Neman
    3 Brothers in March of 2020, and Neman Brothers did not seek to compel further
    4 responses based on those objections, InterFocus concurrently produces similar print
    5 screens from the same online database to show the dates in 2019 on which it stopped
    6 selling the other garments shown in the summary chart that is in paragraph 14 of
    7 Ms. Le’s earlier declaration. See the concurrently Reply Le declaration and Ex. 3.
    8        I declare under penalty of perjury under the laws of the United States that the
    9 foregoing is true and correct.
   10        Executed this 9th day of August, 2021, at Los Angeles, California.
   11
                                                      /s/ Mark S. Lee
   12                                                   Mark S. Lee
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          PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
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